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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF MARYLAND

MYRNA GARCIA,                                   )
                                                )
      Plaintiff,                                )
                                                )
      v.                                        )       No.
                                                )
ELAN FINANCIAL SERVICES,                        )
                                                )
      Defendant.                                )

              PLAINTIFF’S COMPLAINT AND DEMAND FOR JURY TRIAL

      Plaintiff, MYRNA GARCIA (“Plaintiff”), through her attorneys, KROHN & MOSS, LTD.,

alleges the following against Defendant, ELAN FINANCIAL SERVICES (“Defendant”):

                                      INTRODUCTION

   1. Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act (“FDCPA”), 15

      U.S.C. 1692, et seq.

   2. Defendant acted through its agents, employees, officers, members, directors, heirs,

      successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

                               JURISDICTION AND VENUE

   3. Jurisdiction of this court arises pursuant to 15 U.S.C. 1692k(d), which states that such

      actions may be brought and heard before “any appropriate United States district court

      without regard to the amount in controversy.”

   4. Defendant conducts business in the state of Maryland, and therefore, personal jurisdiction is

      established.

   5. Venue is proper pursuant to 28 U.S.C. 1391(b)(2).




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                                         PARTIES

6. Plaintiff is a natural person residing in Clinton, Prince George’s County, Maryland.

7. Plaintiff is a consumer as that term is defined by 15 U.S.C. 1692a(3), and according to

   Defendant, Plaintiff allegedly owes a debt as that term is defined by 15 U.S.C. 1692a(5).

8. Defendant is a debt collector as that term is defined by 15 U.S.C. 1692a(6), and sought to

   collect a consumer debt from Plaintiff.

9. Defendant is a collection agency with a business office in St. Louis, Missouri.

10. Defendant is a collection agency that in the ordinary course of business, regularly, on behalf

   of itself or others, engages in debt collection.

                               FACTUAL ALLEGATIONS

11. Defendant is attempting to collect a consumer debt from Plaintiff, with an account number

   ending in 8178.

12. Plaintiff’s alleged debt owed arises from transactions for personal, family, and household

   purposes.

13. Defendant called Plaintiff and left a voice message, asking Plaintiff to call Defendant at

   800-699-2566, which is a telephone number that belongs to Defendant. See Transcribed

   Voicemail Message, attached hereto as Exhibit A.

14. Defendant failed to disclose in subsequent communications that the calls were from a debt

   collector. See Exhibit A.

                         COUNT I
DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT

15. Defendant violated the FDCPA based on the following:

       a. Defendant violated § 1692e of the FDCPA by using false, deceptive, and misleading

           representations in connection with the collection of any debt.


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          b. Defendant violated § 1692e(10) of the FDCPA by using false and deceptive means

              in an attempt to collect a debt.

          c. Defendant violated § 1692e(11) of the FDCPA by failing to disclose in a subsequent

              communication that the call was from a debt collector.

      WHEREFORE, Plaintiff, MYRNA GARCIA, respectfully requests judgment be entered

against Defendant, ELAN FINANCIAL SERVICES, for the following:

   16. Statutory damages of $1,000.00 pursuant to the Fair Debt Collection Practices Act, 15

      U.S.C. 1692k.

   17. Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection Practices Act, 15

      U.S.C. 1692k.

   18. Any other relief that this Honorable Court deems appropriate.

                               DEMAND FOR JURY TRIAL

      Plaintiff, MYRNA GARCIA, demands a jury trial in this case.

      Dated: October 26, 2011                       RESPECTFULLY SUBMITTED,


                                             By: /s/ Fredrick Nix                      .

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